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               IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN


 PHILIP LEE; PAMELA WHITE;
 PATRICIA VANDUSEN; RONALD                  Case No. 4:22-cv-12153-SDK-DRG
 ALLIX; and RANDY WELCH,                    Hon. Shalina D. Kumar
 individually and on behalf of all others
 similarly situated,
                                            Mag. David R. Grand
                    Plaintiffs,


       v.

 BELVOIR MEDIA GROUP, LLC,


                    Defendant.


        PLAINTIFFS’ NOTICE OF SUPPLEMENTAL AUTHORITY
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      Plaintiffs, individually and on behalf of all others similarly situated, submit

this notice of supplemental authority to apprise the Court of a recent decision

relevant to the issues raised in Plaintiffs’ response in opposition (ECF No. 19) to

Defendant’s motion to dismiss (ECF No. 18):

      1.     On March 30, 2023, Judge Shalina D. Kumar issued a decision denying

the defendant’s motion to dismiss in Batts v. Gannett Co., Case No. 4:22-cv-10685,

ECF No. 28 (E.D. Mich. Mar. 30, 2023), a PPPA action similar to the instant matter.

A copy of the Batts decision is attached hereto as Exhibit A.

      2.     In Batts, the court held that the plaintiffs, having adequately stated a

claim for violation of the PPPA, necessarily had Article III standing to bring suit in

federal court. See Batts, at 7 (“The Court finds that it has been conclusively

established that ‘a violation of the PPPA necessarily arises from the nonconsensual

dissemination of information that reflects a plaintiff’s personal reading choices,

which acutely invades a statutorily protected right to privacy in such matters and,

thus, inflicts harm in a concrete and particularized way[.]’”) (quoting Pratt v. KSE

Sportsman Media, Inc., 586 F. Supp. 3d 666, 671 (E.D. Mich. 2022)).

      3.     The court in Batts also held that the six-year limitation period found in

M.C.L § 600.5813 applied to plaintiffs’ PPPA claims, and that the limitation period

was tolled for 101 days pursuant to Mich. Executive Order 2020-58 and Michigan

Supreme Court Administrative Order 2020-3 (the “COVID-19 Orders”). See id., at
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10 (“Consistent with the now well-established rulings from courts within the circuit,

the Court finds that the six-year limitations period applies to the plaintiffs’ claims.”)

& 11 n.4 (finding that the six-year limitation period was tolled for 101 days pursuant

to the COVID-19 Orders).

       4.     Finally, the Batts court found that the plaintiffs’ complaint contained

“well-pleaded allegations that they were USA Today subscribers and that Gannett

disclosed their private reader information without their authorization within the

relevant time period.” Batts, at 13. Recognizing that it “must accept plaintiffs’

allegations as true,” the court “f[ound] that they are sufficient to state a claim for

relief that is plausible on its face” and accordingly denied the defendant’s motion to

dismiss pursuant to Rule 12(b)(6). Id. at 13; see also id. at 4-5 (construing

defendant’s motion as a Rule 12(b)(6) motion). Notably, in reaching its decision, the

court considered and rejected defendant’s arguments regarding the recent decision

in Nashel v. The New York Times Co., 22-cv-10633 (E.D. Mich. Oct.11, 2022). See

Batts, at 2 n.2.


Dated: March 31, 2023                    Respectfully submitted,
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                          CERTIFICATE OF SERVICE

      I hereby certify that on March 31, 2023, I electronically filed the foregoing

documents using the Court’s electronic filing system, which will notify all counsel

of record authorized to receive such filings.


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